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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                     *
                                             *
                       v.                    *   Criminal No. JFM-06-0478
                                             *   Civil No. JFM-09-145
                                             *
STANLEY HARRISON                             *
                                           *****

                                      MEMORANDUM


       Stanley Harrison has filed this action under 28 U.S.C. §2255, seeking to vacate his

conviction and sentencing. Harrison pled guilty to conspiracy to distribute and possess with

intent to distribute 1 kilogram or more of heroin. He was found to be a career offender, and was

sentenced to 262 months imprisonment. He alleges that his counsel, Randolph Gregory, was

ineffective in representing him.

       Harrison’s motion will be denied except to the extent that he alleges that he asked Mr.

Gregory to file an appeal on his behalf and that Mr. Gregory failed to do so. Mr. Gregory has

passed away, and therefore the most efficient way to resolve that claim is simply to reinstate

Harrison’s right of appeal.

       Harrison’s other claims are without merit. Harrison’s primary claim seems to be that he

received no benefit from the plea agreement into which he entered. That contention is erroneous

in two respects. First, he did receive the benefit of a three level reduction for acceptance of

responsibility. Second, as part of the plea negotiations, the government agreed not to file a notice

of prior convictions under 21 U.S.C. §841. If the government had done so, Harrison would have

faced a statutory mandatory sentence of life imprisonment. Therefore, his argument that he

gained nothing from the plea agreement is utterly without merit.
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        As Harrison implicitly agrees by not arguing to the contrary, this court’s finding that he

was a career offender was fully substantiated by the record. Therefore, the only contention that he

can make is that his sentence was not appropriate under 18 U.S.C. §3553. That contention too is

entirely without merit. Considering the nature of his criminal background and the seriousness of

the offense to which he pled guilty, the factors enunciated in §3553, including the nature and

circumstances of the offense, the history and characteristics of the defendant, the need to promote

respect for the law and to provide just punishment, and to provide deterrence to criminal conduct,

and to protect the public from further crimes by the defendant, all fully supported the 262 month

sentence imposed by this court.

        Finally, Harrison complains that Gregory did not file any pretrial motions or challenge a

search warrant. Harrison’s allegations that any such challenge would have been successful are

entirely conclusory. In fact, the government’s proffered evidence against Harrison, including the

testimony of undercover officers, surveillance officers and agents, and cooperating witnesses, was

overwhelming, and the filing of a suppression motion would have been fruitless. Further, if

Harrison had filed such a motion, in accordance with its long established policy, the government

would not have recommended an additional level for acceptance of responsibility, increasing

Harrison’s Guideline range from 262-327 to 292-365 months.

        A separate order effecting the rulings made in this memorandum is being entered herewith.



DATE:       8, 2009                   /s/
                                              J. Frederick Motz
                                              United States District Judge
